Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.228 Page 1 of 25




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               Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.229 Page 2 of 25




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Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.230 Page 3 of 25



 Mr. Abreu,
                                                                       I
I have received your disciplinary appeal and reviewed the Incident reports, camera footage, the
sanctions you could have received and the sanctions you did receive. I will discuss each of the points
you raised In your appeal one at a time:                          ·;
You asked how you could be found guilty of "Introduction of contr~\band Into the facility" when you
never took the mall Into your possession. Jail policy for this offens 1states: "An inmate may be charged
with this offense If the reporting deputy believes that the Inmate B ~ ANY MEANS ACTIVELY
PARTICIPATED IN or caused, or attempted to cause the lntroductl9n of contraband from outside the
facility to Inside the facility." Deputy Jolley documented very s~eclfiFally ydur attempts at getting other
Inmates to distract him from his task of reviewing your mail with you. He alsp reported that you took
                                                                      hf
possession of the legal mall form and refused to give it back ~nless gave y~u the mall full of drugs.

 The required standard of proof in a Jail discipline process is "some evl,ence." Some evidence is defined
 as, "such evidence that a reasonable mind might accept as adequate t • support a conclusion." The
 record as a whole contains some evidence of your guilt.                     '                ·

 The "Abuse of mall" charge relates to the same behavior on your part wl!regards to attempting to
 conceal and distract the. deputy so the drugs in the mall would not be dis · vered. The "some evidence"
 standard is also met f~,r this charg~.                .      . , ,
                        I                                                       .

 The charge of"Any act chargeable as a crime" I have reviewed and dismisse ,•
 I h~ve also reviewed the sanctions you were given, even though you did not ~ppeal that specific aspect
of the process. For the in~house charges that were levied against you and lhat you were found guilty of,
these are the sanctions that you could have received and the sanctions you actually received:

Isolation (Lo_wer Fox) - could have received 74 days, you received 21 days.

Confinement to quarters (Upper !=ox)- could have received 150 d,vs, you received 60 days.
Loss of classification (Hotel) - co1.tld have received' 600 days, you received 120 days.
Loss of privileges -you could have received a lo,ss of three privileges for 150 days, you received loss of
one privilege (personal mail) for 30 days.
The sanctions Imposed fall within the authorized range for the disciplinary vlolation(s) you have been
found guilty of. The OHO has the discretion to'lmpose sanctions within the approved range based upon
the circumstances of each individual case.    )

The findings and sanctions imposed by the DHO are sustained.



Sgt. Meldrum

Classlflcatlon Disciplinary Appeal Officer

October 6, 2020
                           Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.231 Page 4 of 25
                                                                   Davis                                 ·county Sheriff's"tJjf(ce-' ~;;l ,,Ll_{l j'Jr.,,
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Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.234 Page 7 of 25




 Grievances:

 While in the Davis County Correctional Facility, you have the right to file a grievance relating to any
 condition of confinement, including but not limited to: medical care, classification actions, disciplinary
 procedures, food, clothing and bedding.

 First speak to your Housing Unit Deputy. He/ She may have a solution to your problem. If this doesn't
 resolve your problem, you may file a formal grievance. Your grievances are expressed on the Inmate
 Request and Grievance Form, which can be found on the l<iosk.

 You may NOT grieve decisions handed down by the courts, or disciplinary sanctions imposed by the
 Disciplinary Hearing board. You may appeal the sanctions of the disciplinary hearing process by
 submitting a disciplinary appeal request on the kiosk.



 Mail:

 Outgoing Mail: You may send as much mail as you wish as long as you have sufficient funds on your
 commissary account. Outgoing mail is subject to be checked. Mail sent to the courts or attorneys will be
 considered confidential, but may be checked for contraband in your presence. Legal mail is only
 considered "LEGAL" if it is sent to the address of an Attorney or Court.

 You may not write letters to other inmates housed in the Davis County Jail unless they are immediate
 family. Proof must be available.

 1. Pictures or drawings are not allowed on envelopes. Any envelopes with pictures or drawings may be
 returned to you.

 2. The following return address must be included on the top left hand corner of the envelope:

 Your name

 Inmate booking number

 Davis County Correctional Facility

 P. 0. Box 130

 Farmington, Utah 84025

 3. All letters must have complete sender's name and address. Letters will be returned if not complete.

 4. If you are indigent under the commissary rules, you may receive two envelopes, with two sheets of
 paper each, per week, from the Commissary Inmate Welfare program. Inmates' commissary accounts
 will be charged for all orders.



  Davis County Correctional Facility

  Inmate Handbook




                                                                              INMATE COP'{
Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.235 Page 8 of 25




 502.08 PRIVILEGED CORRESPONDENT



 A. Privileged mail is qualifiedly entitled to constitutionally protected confidentiality. Accordingly, this
 policy places certain restrictions upon the handling, opening and examination of mail, which is
 determined to be privileged. Certain types of mail are entitled to constitutionally protected
 confidentiality (or privileged). Accordingly, this privilege prohibits qualifying correspondence material
 from being read without cause by Davis County Corrections officials. Privileged mail is:

 1. Enclosed in a business envelope of the attorney or court with the senders name and return address
 imprinted or embossed on the envelope;

 2. From an attorney, clearly identified as originating from an attorney or law office; and

 3. Clearly labeled by, printed or otherwise affixed notice on the envelope with the words, privileged,
 confidential legal material, or other language which clearly requests confidentiality due to the privileged
 nature of the enclosed material.

 B, Correspondence will be deemed privileged when sent from an inmate to:

 1. The Facility Commander

 2. The Sheriff of Davis County

 3. The Office of the Attorney General

 4. Courts

 5. Attorneys or Law Offices

 6. Governor

 C. Mail sent by an inmate to any of the following will NOT be deemed privileged.

 1, Law schools;

 2. The news media;

 3. Government agencies or officials unless specifically identified under policy 502.12 A or B, above;

 4. Hospitals, medical centers, medical clinics, or doctors' offices;

 5, Private investigators or private security agencies companies

 6, Associations or groups not readily known as legitimate legal assistance provider;

 7, Legal publishers

 8. The clergy.

 D, Attorney mail should only be declared to be privileged if:

 1. It contains material which is related to the attorneys representation of the inmate; and

 2. It is confidential in nature information not otherwise available to the Facility.




                                                                                iNMATE COPY
Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.236 Page 9 of 25



 E. To be processed as privileged, eligible attorney mail should include only that communication which is
 related to the official capacity and authorized purposes of that entity and:

 1. Will not be extended to communications of a personal or social nature; and

 2. Will be processed in a manner which affords confidentiality.

 F. Correspondence from paralegal, law clerks, legal assistants and other persons employed by an
 attorney to an inmate will not be regarded as privileged mail unless signed by the employing attorney.




 Davis County Correctional Facility

 Policy and Procedures Manual

 Revised April 25 2017




                                                                             INMATE COPYi
Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.237 Page 10 of 25




 502,10 OUTGOING PRIVILEGED MAIL



 A. To claim privilege when writing to the officials listed above, the inmate will:

 1. Address the envelope to the intended recipient by name, title and agency;

 2. Write their own name, inmate number on the envelope: and

 3. Enter the required legend on the envelope clearly labeling the correspondence privileged.

  B. Preparation by inmate:

  1. Outgoing correspondence must be properly designated to be afforded privileged handling.

  2. Envelopes not properly sealed will be returned to the inmate sender.

  3. Only indigent inmates are entitled to free postage for privileged outgoing mail.

  4. Inmates must clearly label the outgoing correspondence as Privileged or legal in writing on the
  outside of the envelope.

  5. Inmates are to place all outgoing mail including privileged correspondence in the boxes located in the
  housing units. Mail will not be placed in the windows of the Pods.

  6. Inmates must seal their legal correspondence. Inmates may request a deputy witness the sealing of
  the envelope if questionable material must be sent as correspondence.

  C. Inmates are prohibited from:

  1. Falsely labeling correspondence as privileged

  2. Sending illegal or other contraband out in privileged correspondence

  3. Mailing cash or other negotiable instruments without the proper property release forms filled out

  4. Other material which presents a clear and present danger to the Facility.

  D. The Pod staff and/or Floor Deputies and other Davis County Personnel will handle outgoing privileged
  mail in a manner which facilitates the confidential processing required. Outgoing privileged mail:

  1. May be inspected only when upon reasonable cause to believe that the correspondence:

  a. Contains material which would significantly endanger the security or safety of the Facility, staff,
  inmates; or

  b. Is represented as legal material.

  2. Outgoing privileged mail:

  a. May be inspected only in the presence of the inmate sender;

  b. Will not be perused;




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Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.238 Page 11 of 25




 c. Will not be photo-copied; and

 d. May be denied only for a reasonable cause and upon instruction of the Facility Commander.

 3. Outgoing privileged mail from an inmate that cannot be identified will remain in the housing unit until
 the inmate claims it. If not claimed within a reasonable time after notice, the mail will be forwarded to
 the mail processing staff for disposition.

 E. Inmates will be responsible to ensure that their outgoing correspondence has sufficient postage.

 F. Non-indigent inmates will use embossed first-class envelopes obtained from the commissary. If the
 correspondence will require additional postage and returns to the Facility postage due, the procedure
 will be followed as outlined in 502.02.B.4.

 G. Inmates may use indigent envelopes obtained from commissary (3 3/4" x 6 1/2") for outgoing legal
 correspondence, One envelope should contain 5 sheets of 8 ½" x 11" paper which is equivalent to first-
 class, domestic, one-ounce letter.

 1. Inmates may request legal envelopes on Commissary order forms.




  Davis County Correctional Facility

  Policy and Procedures Manual

  Revised April 25 2017




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                                   Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.239 Page 12 of 25




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Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.242 Page 15 of 25




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Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.243 Page 16 of 25




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                                 Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.249 Page 22 of 25




            ----------------"t=J_-~A~\_\/V_,__\_~__,-
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_ _ _ _ _ _ _ _ _ _ _ _ _ _\..,.,_l.....,\c..:..\_.                                                                      -'t'-'.,_""'L'-'-AC....w~V\'-'-'")~f=,._,-'-"---~-'-~-c_L_-1_-t_-_F__________________



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::_CJ<(\~;;,-'c-,\-u\•-s.(.),f\, ~\(.,.,/\},;~                                      t•5c:.S\u:/">                    0,V'\~j          l/'U:)f-(:(,f<:-¼-"f"•',, \                 e(IJ~\:'>,•~-v.~\-.", \-J                         ~r~'-.,\_\~..r.cr-'S'' C\•/\-:;;i                               (;.(")<,,)l'-J\ <;c'(E~
:J-t"-· '' ,J. \.J\QL.A·i:'\0'!--\1..°>l _,,,ot,~rJ:i'.TH"~,it                                                  (.,1,___,✓,.-,.,v,.    IJ,Jl,,,l-(         -t'('L ~\""J\·\.~,,.:..                    ~,::,       ,c.._.,.....;)      v.J"._e.,,._ <A   ~'1'--t..·\•-f"tc,.\                           <...1--\..\-r.,,__;1.,"·«-·<--,
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  ~C.."'-;;,             'l'-O+·          \-.\2icc..\ o-.r.--                           ~(;"JOY',                  \;.J\, o+" ..~-"'--·< ~,.,.Ji 'A()f \~c..c.~ /!\                                                                               \,"'-;,\.--         'u-G-             ~V'-.'-..HN\·\.<,--f\..
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                                    Qc~ \             {: "' \                 s::\ ~ \..... ; ,)"..--<c ·( Q\'(\.(Lt&~,i,~}\f\,r-•e c,~';;.!Q_:L',.._;;,lt)\--e                                                                    k.:J·e' Ovf ("'            (.'.., -1'--,;:}     .-::;._,,    l   "'?.   ,.,t'!        ~ V\
 ,hCi\¼"\"<O\t',                          0 .(:::..        ~(:'.l[         s;~.'.l•f           ~J'.          b,N(y'a'tf\.·(lj',r·                         o--f.. .\-"":.{ \) '::>.                        ~- '.l.:."-'"}\ ,\,}.-•,frt·                   Q,<C_-,,,.      '-.}..;)-,(!_ \\.     C,."",


  :s:)·rr-\:".s:..,....,fu                        ,'\=", ~\-~ ""'"- ii                             ~ ; f .\:-,-~.--<".v,-\-,\'\ -.Av'IA.:1.L'-d"'1"<-t•/\.\,-s,                                  ____iY+'- -~(,__._.(). ~,                                              (.,;.,:n0.~.h.:h\l \-·\<';¥\,


  01 ,, ~ \.+f.i                         f e ,,\           \.,J~ ~ "'' ,// ;"c.o< \bu,\~, "                                                                  ~4,,, \-7                                             ,,±:'\-., •'I;::~''                                               o."_,L_t_o,_, tJ\

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                                  Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.250 Page 23 of 25




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~- -\~-e                      Jjs                       Lill!.\<:).), \j.\,.-;_ (),J\                 .\b~e,.... ~\r. . ;.,) ,tt...              '\i'. c~.~..<-~C---C;,:;,_'-"-,'-1'--=-d---',_,_'{~,'-'(..,p,_,C_!? <> r-c, ~-e .,,,,   RCL.c.Ll'~cy\     C     @\......~.

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J~"j ~r QL, "\ ~-                                                                       ,;-<'.< •·.,                   -<-o         flf\.a_C \   1    r," ,!,          l~ \: '.J ~ o ,.ll,,                                c~,0 ,. A\ JI':.                                    pea c-e.du1cJ
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  Cun"'°>~<·h..l<~                             ~,(·{·<'.          <J!,)   11\1\      J~            e~          ('1_✓..,<C:H'J,/1            dCl~         \0(.-e""l•":,               ,... '('. ,)        ;</\\JC)        \uV\~-cr-r,            ,.,..-:::.-.,-,e,;,,;Jv~.-->-.,c,"-'-...___




 _,JJ}/c'Q;'                _,;.◊1,~ ' R\"'A\ 'l;(.c                                                   H       'l"'' •.+s -'e-\..             ~ +ll'cL.LW'                                "e-     a(~ "+                       MM          .\'D \\.,,,, ~)
                                   he,              ,-e;.•"',,,)t'         o cl,cd r.:~,f oA:o •\ ,\                                   ~'t_:{0..._r,J.,..- 4S.A"-:l:~--\-~::-.L~_·_·._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                                \."'"'iTi·,,         <::,...cJ..;o,f'."=> Os;:. ~N                                      c\~c\.~-·Adr:.s.V'\.\-', . ,,J',O\c,                   '<'.         +\-.,              \.:.,: A~;.~b ,r, .c-,Y<.-\<-.                         c.J.:..:::\h_€--
                                                    \):':::,       cc.~V\"'""'"'~(:)-\-'\f;',/1 v,l\\Y\ ·,-<_",,.'<·~<--\:'--                              -\•(,>    '<'c.(H,.V\            C..O<..);'\.~
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:f-lL),\J\J''\"•)                     ~ l>,:,k               ~-     ,{Z>:7.,-,('.c '() \J              \           A NV                 ADV\/\•U' "'>Te,A-T 1,., 0                                                 -,).,1, -·.• ;,, ;',/C, lif°:A-.,;cV.cs·-;-_·-·..J..;C_                                       _;s:__.·    c_t..>_t.Lu.=...c_"_1_5_L_1_··_<_,
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    ._-_\~_\"_(,;:,.J'-_\_;__l_~✓--,-'r'<"i''ii--,,,"'-)_\_\_-__C_.._\_,_,_._. _._.. ___c_·.,___\~._,_(_'---_I_C_'.. _;_·,_1.~('~_c~.J~~C.,,_1:,.>f'6_.ocd=-'"c)"-("'--0_·,-',;'-v_,_~_·-\.:...(''_·~--.c..(,--..._\.,!.\_(_;l)..,_{....,_\_--=c\..,..\,-~\-•__C_·,_.J_·..:..\'_/_1-_\_.... . ;.:_          ;, _ __                                1


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            \\-)·,·· \,,:,               1'              r., ,)r .':: ,i><:l-       ?--J\.')l\f"\ c,c> ·'.1·)i', ?·1\_...,.r·'--'··__,....>_::c;...,.-:_;,,-_·__<._._,·-'\'--_\...,,;...-..>1·· (''-'(\_,-_:>,"-.c'"':' ---"r""',-::...,\--_·\..:..:'c'-•-1::..:.......:<::...•___S_.\.,__,). . .:. ,._;_ _ _ _ __

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                ,.0.,                      ,_'_,·<_~-.:        ·,. "'
     _ __;LJ1,.;:):.._..,-~"'-!2'..;.'..,_·..,_,..:..·....:;..~_-''--\---'-'-'-
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               J;.-- ~,                                   '<,aw,s~~ ,J "', \                                            \~j                     lc0:>o C2ct"IJ c. ,,\ ,,,_.__-.....;0_\_--.._<                                                                         1 _•:.,_
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                 Case 1:21-cv-00129-RJS Document 10-11 Filed 12/28/21 PageID.252 Page 25 of 25




 M o..Dr-:<.'15     °'~\-t -(_,-:                 °'~   -rv.     ·<-XC.--( -4-   +o   ,/V\c,.   -,,r   "' /   l ..,.) cw,                           ""v---d
'o--t.\i-<., ·     'l'-d            \.-o .\- u~     \     \;-t\/·( -\.\_.        J-o kx_               l C..~.rL[           l]\f\   "{J   -}L,c '-lV\c..//.L




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